              Case 2:09-cr-00712-DGC Document 1483 Filed 01/19/12      Page 1 of 2
                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ARIZONA
                                    CRIMINAL TRIAL MINUTES

Phoenix Division


 CR 09-712-1 PHX DGC                 DATE:     1/19/2012
 Year    Case No. Dft #

HON: DAVID G. CAMPBELL                                       Judge # 7031

USA   v.      MAHON, DENNIS
                Last Name                      First Name                    Middle Initial

DEFENDANT: X Present           Not Present           Released      X   Custody       Writ
 Deputy
Clerk:   Traci C. Abraham                    Crt Rptr/ECR:   Merilyn Sanchez

U.S. Atty: John Boyle/Michael Morrissey             Dft Atty:    Deborah Williams/Milagros
Ciseros (FPD)

Intrptr:             Language:
      Dft not appearing, on mot of US Atty, order bond revoked/forfeited and
      B/W issued.

PROCEEDINGS:/ X /JURY TRIAL      /     /COURT TRIAL     /     /VOIR DIRE /    /JURY SWORN

Trial Day #        7                           Waiver of Jury trial filed

Other Appearances: Defendant Daniel Mahon, present/custody; CJA Attorney Barbara
Hull present.

8:31 Court in session with counsel. Defendants present. Court places on the record
ruling on furtherance of the conspiracy under 801(d)(2)(E).

Government motions in limine (docs. 1459,1465) argued.

Court instructs the parties to keep track of all unresolved issues before the
Court. ATF policies discussed. 1st amendment limiting instruction to be raised
later.

9:08 Jury present. Tristan Moreland cross examination by defendant Dennis Mahon
continues.

10:15-10:30 Morning break.

10:32 Court in session. Jury not present. Counsel and defendants present.
Defendant Dennis Mahon's oral motion for mistrial non-disclosure joined by co-
defendant Daniel Mahon. Court takes motion under advisement. Proposed 1st amendment
limiting instruction given to Court.

10:33 Jury present. Tristan Moreland cross examination by defendant Dennis Mahon
continues.

12:00-1:00 Jury excused for lunch.

12:01 1st amendment limiting instruction discussed. Counsel for defendant Dennis
Mahon to prompt Court when requesting this instruction to be given to jury.

Defendant Daniel Mahon's oral motion for mistrial/sever 1/18/2012, joined by co-
           Case 2:09-cr-00712-DGC Document 1483   Filed 01/19/12   Page 2 of 2
defendant Dennis Mahon are denied.

Defendant Daniel Mahon's oral motion for dismissal non-disclosure. Argument. Court
takes matter under advisement.

12:17 Court in recess.

1:03 Court in session. Jury present. Rick Staub sworn and examined. Exhibits 651-
655, 765 admitted.

2:32-2:45 Afternoon break.

2:48 Court in session. Jury present. Tristan Moreland resumes stand on cross
examination by defendant Dennis Mahon.

4:01 Jury excused to return on 1/20/2012 at 9:00 a.m.

4:01 Court in session with counsel. Defendants present. Defendant Dennis Mahon's
oral motion for mistrial denied. Defendant Daniel Mahon's         oral motion for
dismissal non-disclosure is denied. Government motions in limine (docs. 1459,1465)
are denied.

Defendant Dennis Mahon's oral motion for mistrial existence of indictment. Motion
under advisement.

Parties to work on any outstanding discovery issues. Government to edit their
exhibit list.

4:09 Court in recess.

Case continued to:    1/20/2012 8:30 a.m.   for further trial.
